 Fill in this information to identify the case:

 Debtor 1              David Mendoza
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Northern District     of __________
                                                           of California
                                                      District

 Case number            18-10188
                        ___________________________________________




2IILFLDO)RUP 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   Quicken Loans LLC fka Quicken Loans Inc.
 Name of creditor: _______________________________________                                                        2
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           1 ____
                                                         ____ 1 ____
                                                                  6 ____
                                                                      6              Must be at least 21 days after date       03/01/2021
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                              2,763.77
                                                                                                                               $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
      
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                   1,033.29
                   Current escrow payment: $ _______________                      New escrow payment:                    993.43
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔
          No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                New interest rate:           _______________%

                   Current principal and interest payment: $ _______________      New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ✔
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                    New mortgage payment: $ _______________


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Debtor 1         David   Mendoza
                 _______________________________________________________                                          18-10188
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

          I am the creditor.
     ✔
          I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 8/s/ Arnold      L. Graff, SBN 269170
     _____________________________________________________________
     Signature
                                                                                               Date   01/12/2021
                                                                                                      ___________________




 Print:             Arnold              L.             Graff
                    _________________________________________________________                  Title Attorney for Creditor
                                                                                                      ___________________________
                    First Name                      Middle Name         Last Name



 Company            Law Offices of Wright, Finlay & Zak, LLP
                    _________________________________________________________



 Address            4665 MacArthur Court, Suite 200
                    _________________________________________________________
                    Number                 Street

                    Newport Beach                    CA      92660
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      (949) 477-1400
                    ________________________                                                          agraff@wrightlegal.net
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2
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                                                                                                                   Annual Escrow Account
                                                                                                                     Disclosure Statement
1050 W oodward Avenue | Detroit, MI 48226

                                                                                    Loan Information
       6-810-80061-0000277-001-000-000-000-000                                                         Loan Number:
       DAVID MENDOZA                                                                              Property Address: 1566 Alegra ST
       YRI-BERTO MENDOZA
       1566 ALEGRA ST                                                                                                         Santa Rosa, CA 95403
       SANTA ROSA CA 95403-7664                                                                      Statement Date: 01/06/2021
                                                                                    New Payment Effective Date: 03/01/2021




1.        Your Escrow Account Items
To take a closer look at your
numbers, sign in to Rocket                       Annual Escrow Account Breakdown
Mortgage® by Quicken Loans and                   Activity                                            Estimated Amount*           Actual Amount               Next Due
click on the Loan Information tab.               County Taxes                                                     $8,130.02            $7,998.62               03/2021
                                                 Mortgage Insurance                                               $2,691.72            $2,691.72               03/2021
                                                 Homeowners Insurance                                             $1,135.00            $1,135.00               06/2021
                                                 Totals:                                                      $11,956.74             $11,825.34
                                                 *The estimated amounts are based on an amount provided previously or the amount last disbursed.


2.        Your Escrow Account Has a Shortage
Due to an increase in your taxes and/or insurance, your                                  Projected Escrow Account Balance
escrow account is short $95.85.
                                                                                         Projected Minimum Balance:                                          $1,426.41
                                                                                         Required Minimum Balance:                                           $1,522.26
                                                                                         Shortage:                                                               $95.85
                                                                                        Note: This amount has been adjusted to account for the bankruptcy proof of claim.


3.        Your Payment Is Changing
                                                                                                            Mortgage Payment Breakdown
Your escrow payment is decreasing.
                                                                                                 $3,200

     Breaking Down the Numbers                                                                   $2,800
                                                  Current           New
                                                                                                 $2,400
     Principal & Interest:                         $1,770.34      $1,770.34
     Escrow Payment:                               $1,033.29        $985.44                      $2,000
     Shortage:                                                         $7.99
                                                                                                 $1,600
     Monthly Payment:                              $2,803.63      $2,763.77
Please note that the current payment amount listed above is                                      $1,200
the payment amount that the loan is due for under the terms of
                                                                                                   $800
the security instrument. This may differ from the payment
amount under the terms of the bankruptcy plan.                                                     $400


                                                                                                            Current Payment         New Payment

                                                                                           Principal & Interest          Escrow Payment             Shortage


       Quick and Easy Payment Options
               Online at                                        On the go with the                                                 By phone at
               RocketMortgage.com                               Rocket Mortgage® app                                               (800) 508-0944                  QL026




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                                                                                                                                                               Page 1
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                                                                                                                      Disclosure Statement
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4.          A Closer Look at Your Escrow Account History
               Total Tax and Insurance Payments
                 $4,500
                                                                                  This chart highlights the differences between the estimated
                                                                                  and actual payment amounts for the taxes and insurance and
                 $3,600                                                           shows the reason for the current shortage.
                 $2,700
                                                                                  The actual amounts paid out for taxes and insurance over the
                 $1,800
                                                                                  past year, as shown here, are used as the basis for our
                   $900                                                           projections for the upcoming 12 months.
                               Taxes          Insurance
                 Estimated         Actual


The table below details the activity history for your escrow account from last year. The differences in your tax and insurance
payment amounts are highlighted in yellow.


         Escrow Account Activity History for November 2020 through February 2021
                                                                    Payments                       Disbursements                        Balance
     Date        Activity                                      Estimated          Actual        Estimated            Actual      Estimated          Actual
     11/2020     Beginning Balance                                                                                               $5,813.78        $5,371.02
     11/2020     Deposit                                         $996.39      $1,033.29              $0.00               $0.00   $6,810.17        $6,404.31
     11/2020     Withdrawal - COUNTY TAXES                          $0.00          $0.00        $4,065.01        $3,999.31       $2,745.16        $2,405.00
     11/2020     Withdrawal - MORTGAGE INS                          $0.00          $0.00          $224.31          $224.31       $2,520.85        $2,180.69
     12/2020     Deposit                                         $996.39      $1,090.25              $0.00               $0.00   $3,517.24        $3,270.94
     12/2020     Withdrawal - MORTGAGE INS                          $0.00          $0.00          $224.31          $224.31       $3,292.93        $3,046.63
     01/2021     Deposit                                         $996.39      $1,033.29              $0.00               $0.00   $4,289.32        $4,079.92 **
     01/2021     Withdrawal - MORTGAGE INS                          $0.00          $0.00          $224.31          $224.31       $4,065.01        $3,855.61
     02/2021     Deposit                                         $996.39      $1,033.29              $0.00               $0.00   $5,061.40        $4,888.90 **
     02/2021     Withdrawal - MORTGAGE INS                          $0.00          $0.00          $224.31          $224.31       $4,837.09        $4,664.59 **
                 Totals                                        $3,985.56      $4,190.12         $4,962.25        $4,896.55
  **
       This amount is a projection as of the date of this analysis. It has not been received or remitted at this time.




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                                                                                                                                                   continued à
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                                                                                                  Annual Escrow Account
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5.          A Closer Look at Projections for Your Escrow Account
  Escrow Account Projection
  Description                                                Annual Amount
  MORTGAGE INS:                                                   $2,691.72
  COUNTY TAXES:                                                   $7,998.62
  HOMEOWNERS INS:                                                 $1,135.00
  Total Annual Taxes and Insurance:                              $11,825.34
  New Monthly Escrow Payment:                                   $985.44
The table below details the projected activity for your escrow account. The minimum required balance, highlighted in yellow,
is determined by the Real Estate Settlement Procedures Act (RESPA), your mortgage contract or state law. Your account’s
selected minimum allowed balance or cushion is $1,522.26. Your minimum required balance may include up to two months
of escrow payments to cover increases in your taxes and insurance.

The actual amounts paid out for taxes and insurance, as shown in the Escrow Account Activity History Table, are used as
the basis for our projections for the upcoming year.


       Future Escrow Account Activity for March 2021 through February 2022
                                                                Payments               Disbursements              Balance
     Date      Activity                                        Estimated                  Estimated        Estimated        Required
     03/2021   Beginning Balance                                                                           $4,664.59        $4,760.44
     03/2021   Deposit                                           $985.44                     $0.00         $5,650.03        $5,745.88
     03/2021   Withdrawal - MORTGAGE INS                           $0.00                   $224.31         $5,425.72        $5,521.57
     03/2021   Withdrawal - COUNTY TAXES                           $0.00                  $3,999.31        $1,426.41        $1,522.26 L
     04/2021   Deposit                                           $985.44                     $0.00         $2,411.85        $2,507.70
     04/2021   Withdrawal - MORTGAGE INS                           $0.00                   $224.31         $2,187.54        $2,283.39
     05/2021   Deposit                                           $985.44                     $0.00         $3,172.98        $3,268.83
     05/2021   Withdrawal - MORTGAGE INS                           $0.00                   $224.31         $2,948.67        $3,044.52
     06/2021   Deposit                                           $985.44                     $0.00         $3,934.11        $4,029.96
     06/2021   Withdrawal - MORTGAGE INS                           $0.00                   $224.31         $3,709.80        $3,805.65
     06/2021   Withdrawal - HOMEOWNERS INS                         $0.00                  $1,135.00        $2,574.80        $2,670.65
     07/2021   Deposit                                           $985.44                     $0.00         $3,560.24        $3,656.09
     07/2021   Withdrawal - MORTGAGE INS                           $0.00                   $224.31         $3,335.93        $3,431.78
     08/2021   Deposit                                           $985.44                     $0.00         $4,321.37        $4,417.22
     08/2021   Withdrawal - MORTGAGE INS                           $0.00                   $224.31         $4,097.06        $4,192.91
     09/2021   Deposit                                           $985.44                     $0.00         $5,082.50        $5,178.35
     09/2021   Withdrawal - MORTGAGE INS                           $0.00                   $224.31         $4,858.19        $4,954.04
     10/2021   Deposit                                           $985.44                     $0.00         $5,843.63        $5,939.48
     10/2021   Withdrawal - MORTGAGE INS                           $0.00                   $224.31         $5,619.32        $5,715.17
     11/2021   Deposit                                           $985.44                     $0.00         $6,604.76        $6,700.61
     11/2021   Withdrawal - MORTGAGE INS                           $0.00                   $224.31         $6,380.45        $6,476.30
     11/2021   Withdrawal - COUNTY TAXES                           $0.00                  $3,999.31        $2,381.14        $2,476.99
     12/2021   Deposit                                           $985.44                     $0.00         $3,366.58        $3,462.43
     12/2021   Withdrawal - MORTGAGE INS                           $0.00                   $224.31         $3,142.27        $3,238.12
     Note: Your remaining Escrow account breakdown is on the next page.




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        Future Escrow Account Activity for March 2021 through February 2022 Continued
                                                                       Payments                        Disbursements                             Balance
    Date        Activity                                               Estimated                            Estimated                    Estimated           Required
    01/2022     Deposit                                                  $985.44                                $0.00                    $4,127.71           $4,223.56
    01/2022     Withdrawal - MORTGAGE INS                                   $0.00                             $224.31                    $3,903.40           $3,999.25
    02/2022     Deposit                                                  $985.44                                $0.00                    $4,888.84           $4,984.69
    02/2022     Withdrawal - MORTGAGE INS                                   $0.00                             $224.31                    $4,664.53           $4,760.38
                Totals                                               $11,825.28                           $11,825.34
    L
     This amount denotes the projected low balance.




                                                                (This space intentionally left blank)




If you have an active bankruptcy or you received a bankruptcy discharge, we are sending this for informational or legal purposes only. We’re not trying to
collect against you personally. If you have any questions about this communication or your obligation to pay, please contact your attorney.
If you want to send us a Qualified Written Request, a Notice of Error, or an Information Request, you must mail it to Quicken Loans, LLC, P.O. Box 442359, Detroit, MI
48244-2359, or fax it to (877) 382-3138.

Questions? Contact Your Quicken Loans Team.
        Phone: (800) 508-0944                                                       Hours: Monday - Friday: 8:30 a.m. - 9:00 p.m. ET
         Email: ServicingHelp@QuickenLoans.com                                                  Saturday: 9:00 a.m. - 4:00 p.m. ET
    Secure Fax: (877) 380-5084                                                                 Preguntas: (800) 982-2544
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                                     PROOF OF SERVICE

        I am employed in the County of Clark, State of Nevada. I am over the age of eighteen
(18) and not a party to the within action. My business address is 7785 W. Sahara Ave., Suite 200,
Las Vegas, Nevada 89117.

        On January 12, 2021, I served the foregoing documents described as NOTICE OF
MORTGAGE PAYMENT CHANGE, on the following individuals by depositing true copies
thereof in the United States first class mail at Las Vegas, Nevada, enclosed in a sealed envelope,
with postage paid, addressed as follows:

       SEE ATTACHED SERVICE LIST

 [X]   (BY MAIL) I caused such envelope with postage thereon fully prepaid to be placed in the
       United States mail at Las Vegas, Nevada. I am readily familiar with the firm’s business
       practice for collection and processing of correspondence for mailing with the U.S. Postal
       Service pursuant to which practice the correspondence is deposited with the U.S. Postal
       Service the same day in the ordinary course of business.
 [ ]   (BY NORCO OVERNITE - NEXT DAY DELIVERY) I placed true and correct copies
       of thereof enclosed in a package designated by Norco Overnite with the delivery fees
       provided for.

 [X]   (BY ELCTRONIC SERVICE) Pursuant to CM/ECF System, registration as a CM/ECF
       user constitutes consent to electronic service through the Court’s transmission facilities.
       The Court’s CM/ECF systems sends an e-mail notification of the filing to the parties and
       counsel of record listed above who are registered with the Court’s EC/ECF system.

 [X]   (FEDERAL) I declare that I am employed in the office of a member of the bar of this
       court at whose direction the service was made.

        I declare under penalty of perjury of the laws of the United States that the foregoing is
true and correct. Executed on January 12, 2021, at Las Vegas, Nevada.


         /s/ Erica Baker__
       ERICA BAKER




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                                     SERVICE LIST
                                   In re David Mendoza
                               Bankruptcy Case No.: 18-10188

PARTIES SERVED BY ECF ELECTRONIC MAIL:

David Burchard, Chapter 13 trustee: TESTECF@burchardtrustee.com
Evan Livingstone, Counsel for Debtor: evanmlivingstone@gmail.com
Office of the U.S. Trustee / SR: USTPRegion17.SF.ECF@usdoj.gov
Arnold Graff, Counsel for Quicken Loans Inc.: agraff@wrightlegal.net

PARTIES SERVED BY US MAIL:

David Mendoza
1566 Alegra St
Santa Rosa, CA 95403
DEBTOR

Evan Livingstone
Law Offices of Evan Livingstone
740 Fourth St #215
Santa Rosa, CA 95404
COUNSEL FOR DEBTOR

David Burchard
P.O. Box 8059
Foster City, CA 94404
CHAPTER 13 TRUSTEE

Redwood Credit Union
P.O. Box 6104
Santa Rosa, CA 95406-9985
INTERESTED PARTY




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